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                                                                                                                 EXHIBIT 00



    De: No mi AS UI -0 HODARA
    Envoy, : W dn sday, July 20, 2022 9:58:37 AM
    A: Samantha D. Malloy < Mclloy ,o am nth dm lloy.com>
    Cc: Heidi Paris <h ,idtmpari u?gm ii.com>
    Objet : Heidi's commitment                                            ~

    Dear Samantha ,




    I hope this email finds you well.
+
     First of all Heidi and I thank you for your urgent help yesterday.




     Our meeting with Arnaud's lawyer I sted until 9PM and I as unable to get back to you before this morning.



     W• have r ached an agr        ment th t allows Heidi to move to A hland with the girl .




      You                                        m     s Id    r unct h r official reply.




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m       0          m                       e                     D


W. have ,.ached an agrNment that allows Heidi to move to Ashland with the girls.



You will find attached my official letter to Arnaud's lawyer and her omc,al roply.




Under French law, this official letters exchange seals th parties' gr em nl.




We would have loved lo consult with you before commill1ng to tho torms of tho attached letter but the timing was or essence : I sensed that, If Arnaud did no1 C0IMlfl
 travel to the US last night. he would simply never accept it.



 The main point or the agreement is th at, for Heidi to be entitled to move to the US with the girls, she must meet a certain number or conditions by August 22nd (signing
 lease, making sure Arnaud gets medical insurance in the US, etc .. .).




 I made sure that. as described in the teller, the aid condrt1ons can be met (for instance, we refused to condition the validation of the move upon the Aupelr 9elinO
 because this condition was not under Heidi's hands).




     top of that, Amaud made it clear that the only way he would accept moving the residence of the family to the USA Is if Heidi commHa to going-- •.,...
            par.




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m                                   (9                          D

He N8ly left her no choice.



0ur strategy is the following : while accepting this clause , we added that, every year, the girls's residence will change : year 1 USA-year 2 Franoe-,-r3



The point of this dause is to make it seem totally irrelevant to the girls' interest so that an Oregon court would have no trouble accepting that Heidi does not
September 2024 when she will remain stateside.



 Indeed, Heidi's plan is to remain in Oregon at the end of the upcoming school year and to tell Arnaud, once Oregon courts have acquirred junsdidlon (
 January 2023), that she does not plan to move back to France with the girls.



 If he is unhappy with that change. he will have to file in Oregon courts and to obtain a decision allowing him to move back to France with the gifis.



  In this possible dispute. Heidi will argue that the interest of the girls is not to move from one place to another each year, that this is too much for her and
  tan 8dapl to an evironment. etc ..•



         fie following wording in the agreement letter


           • Le l'Nldence dN enfants sers ensuite transri,,ee en France a la rentr6e d seplembre 2023. pU1$ de noul/8aU awe E ~ M



                ,.,.,.,. a'tngefMI • pourswvre cette altomance d'une nnee sur /'autre, soH rNetW que cela aolf.,,. I ~




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I used the following wording In the agreement letter :



         « LB residence des enfants sera enswte transferee en France a la rentree de septembre 2023, puis de nouveau au1< Etats-Unis en septembre 2024.




         Les parents s·ongagent    a poursuivre cette a/lomance d'une a111100 ur /'mitre. sous reserve que cola soft dans l'lnterft des enfllnta. •


  TRANSLATION :



           "The children's residence w/11 then be transferred to France al the starl of the school year in September 2023, then back to the United States in September 2024.




           Parents underlake to continue this altemat,on from one year to the next, provided that this is in the Interest of the children.. »



    Can you teH us what value would be given to Heidi's commitment to move back to France after spending 8-9 months in Oregon and taking into consideration Iha rollMirll

    ctrcumstances (that arguably Heidi could not have foreseen ••• } :




         • The parental aeparaUon ;
           The giris being super happy and Integrated in Oregon ;
           Hekll having a new job in the US that does not allow her to work abroad.




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